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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 24-cv-03231-DDD-KAS

SHANE SCOFIELD, individually and on behalf of all others similarly situated,

       Plaintiff,

v.

ALLEVIATE TAX LLC,

     Defendant.
_____________________________________________________________________

                            MINUTE ORDER
_____________________________________________________________________
ENTERED BY MAGISTRATE JUDGE KATHRYN A. STARNELLA

       This matter is before the Court on Plaintiff’s Consent Motion for Extension of
Time to Respond to the Motion to Dismiss [#29] (the “Motion”). While the Motion’s title
suggests that Plaintiff only seeks to extend his deadline to respond to the Motion to
Dismiss [#15], Plaintiff also seeks to extend the deadlines to respond to the Motion to
Strike Class Allegations [#16], Motion to Stay Discovery [#17], and Motion to Bifurcate
Discovery [#18].

        This is Plaintiff’s second requested extension of these deadlines. On February 10,
2025, Plaintiff filed an Unopposed Motion to Extend Time [#22] on grounds that he needed
additional time “to address all of the arguments made in each motion, and because . . .
[he] is in the process of serving subpoenas on telecommunications providers involved in
the conduct alleged[.]” [#22]. The Court granted that requested extension at the February
13, 2025 Scheduling Conference. See Am. Courtroom Minutes [#26].

       In the current Motion [#29], Plaintiff vaguely asserts that he “needs . . . additional
time to address all of the legal issues raised and the parties are also continuing to focus
on third party discovery that could be dispositive of the case.” Plaintiff, however, does not
explain why he could not address these issues during the previously granted extension.
Therefore, no further extensions of these deadlines will be granted absent
exceptional circumstances. Accordingly,

       IT IS HEREBY ORDERED that the Motion [#29] is GRANTED. Plaintiff’s deadlines
to respond to Defendant’s pending Motion to Dismiss [#15], Motion to Strike Class
Allegations [#16], Motion to Stay Discovery [#17], and Motion to Bifurcate Discovery [#18]
are extended to April 21, 2025.
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     Dated: April 3, 2025




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